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thyssenkrupp North America, LLC

 

 

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KrLIDD
NEU Mv

October 9, 2020

VIA EMAIL
johnsonlawcenter@gmail.com

William E. Johnson
Johnson Law Center
6558 Main Street, Suite 6
Gloucester, VA 23061

RE: Atlas Electronics / Atlas North America / ThyssenKrupp Patent Issue

Dear Mr. Johnson:

| represent ATLAS North America LLC (ATLAS) and am in receipt of your letter of September 11, 2020. | did not
prepare or file an application on ATLAS’s behalf, but | can see from our records that an application was filed for
man overboard technology early in 2019. Unfortunately, the United States Patent and Trademark Office (USPTO)
rejected that application, and the application has since been abandoned. Further, please know that Mr. Wilcox
did not and will not receive any reward, monetary or otherwise, for his contributions with respect to this patent
application.

Very truly yours,

PY.

Rob Harmer
